
PER CURIAM.
Otis Harris appeals the summary denial of his motion for additional jail time credit. Although the trial judge denied the motion without an evidentiary hearing, he did not attach to his order any portion of the files or records to refute appellant’s allegations.
Accordingly, we reverse the trial court’s denial of appellant’s motion and remand the case to the trial court. On remand, unless the files and records of the case conclusively show that appellant is entitled *898to no relief, the court shall order the state attorney to file an answer within a time certain. After receipt of the answer, the court shall determine whether an evidentia-ry hearing is required. If the court should again deny appellant’s motion, he has thirty days in which to appeal.
Reversed and remanded.
SCHOONOVER, C.J., and SCHEB and CAMPBELL, JJ., concur.
